     Case 8:13-cv-00890-JVS-AN Document 318 Filed 07/20/16 Page 1 of 1 Page ID #:4414



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 6                            UNITED STATES DISTRICT COURT
 7                          CENTRAL DISTRICT OF CALIFORNIA
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 9 ELIZABETH CHAVIRA, on                   )   CASE NO. SACV-13-0890-JVS-(ANx)
   behalf of herself and her two           )
10 minor daughters, C.R. and M. R.,        )   JUDGMENT IN FAVOR OF DEFENDANT
   as their guardian ad litem,             )   JOSE RAMIREZ
11                                         )
             Plaintiff,                    )   COURTROOM: 10C - assigned for all
12                                         )   purposes to Judge James V. Selna
             v.                            )
13                                         )   COMPLAINT FILED: JUNE 13, 2013
       J. CHAVEZ, et al.,                  )
14                                         )
             Defendants.                   )
15                                         )
                                           )
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18           On April 21, 2014, the Court granted Defendant Jose Ramirez’s Motion to
19     Dismiss Second Amended Complaint. Docket No. 32.
20           In accordance with this Court’s April 21, 2014 “Order re Motion to Dismiss
21     SAC” (Docket No. 53), IT IS HEREBY ORDERED THAT JUDGMENT be
22     entered in favor of Defendant Jose Ramirez and he is entitled to costs of suit.
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       Dated: July 20, 2016                    ______________________________
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                                               James V. Selna,
27                                             U.S. District Judge
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